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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 1:23-mj-00136-SKO

12                                 Plaintiff,
                                                          ORDER TO SEAL CASE
13                          v.

14   IRMA OLGUIN, JR.                                     Filed Under Seal
     AND JAKE SOBERAL,
15
                                  Defendants.
16

17
            Upon application of the United States and good cause having been shown, the criminal
18
     complaint, arrest warrant, and all other documents filed in this case shall be sealed and shall not be
19
     disclosed to any person unless otherwise ordered by this Court.
20
            IT IS SO ORDERED
21

22
      Dated: 11/8/2023
23
                                                                 Honorable Sheila K. Oberto
24                                                               United States Magistrate Judge

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